       Case 8:23-cv-00889-TDC Document 28-1 Filed 11/06/23 Page 1 of 2



                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MARYLAND


 LI FEN YAO, as Administrator of the Estate of Sam
 Mingsan Chen,

                             Plaintiff,                        Civil Action No. TDC-23-0889

                             -v-

 ROBERT CHEN; OTTER AUDITS LLC; and
 RC SECURITY LLC,

                             Defendants.


                   DECLARATION OF STEPHEN M. PLOTNICK
             IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
              COMPLAINT FOR LACK OF PERSONAL JURISDICTION

       STEPHEN M. PLOTNICK, hereby declares under penalty of perjury, pursuant to 28

U.S.C. § 1746, as follows:

       1.      I am a partner with the law firm of Carter Ledyard & Milburn LLP, co-counsel

for the plaintiff in the above-referenced matter, Li Fen Yao (“Plaintiff”). I respectfully submit

this declaration for the purpose of placing before the Court certain documents that are

referenced in Plaintiff’s Memorandum of Law in Opposition to Defendants’ Motion to Dismiss

Complaint for Lack of Personal Jurisdiction.

       2.      Attached as Exhibit A is a true and correct copy of the Complaint filed in this

action on March 31, 2023.

       3.      Attached as Exhibit B is a true and correct copy of the Articles of Organization

of Defendant Otter Audits LLC, filed with the Secretary of State of the State of South Dakota

and with an effective date of September 13, 2022.

       4.      Attached as Exhibit C is a true and correct copy of the Articles of Organization

of Defendant RC Security LLC, filed with the Secretary of State of the State of South Dakota

and with an effective date of September 13, 2022.


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     Case 8:23-cv-00889-TDC Document 28-1 Filed 11/06/23 Page 2 of 2




Executed on: November 6, 2023
                                         Stephen M. Plotnick
